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                                                                     FILED & ENTERED

                                                                           MAY 18 2022

                                                                      CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California
                                                                      BY gonzalez DEPUTY CLERK




              UNITED STATES BANKRUPTCY COURT
     CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION
 In re:     Jinzheng Group (USA) LLC,             Case No.: 2:21-bk-16674-ER
            Debtor.                               Chapter: 11
                                                  ORDER APPROVING APPLICATION BY
                                                  THE OFFICIAL COMMITTEE OF
                                                  UNSECURED CREDITORS TO EMPLOY
                                                  PACHULSKI, STANG, ZIEHL, AND
                                                  JONES LLP AS ITS BANKRUPTCY
                                                  COUNSEL
                                                  [RELATES TO DOC. NO. 98]

                                                  Date:       May 17, 2022
                                                  Time:       10:00 a.m.
                                                  Location:   Courtroom 1568
                                                              Roybal Federal Building
                                                              255 East Temple Street
                                                              Los Angeles, CA 90012

   At the above-captioned date and time, the Court conducted a hearing on the Application for
an Order Authorizing and Approving the Employment of Pachulski Stang Ziehl & Jones LLP as
Counsel to the Official Committee of Unsecured Creditors, Effective as of January 25, 2022
[Doc. No. 98] (the “Employment Application”). Good cause appearing therefor, the Court
HEREBY ORDERS AS FOLLOWS:

   1) The tentative ruling [Doc. No. 221] is adopted as the final ruling (the “Ruling”) and is
      incorporated herein by reference. The findings supporting the entry of this Order are set
      forth in the Ruling.
   2) The Employment Application is APPROVED. The Official Committee of Unsecured
      Creditors is authorized to employ Pachulski, Stang, Ziehl & Jones LLP (“PSZJ”) as its
      bankruptcy counsel, effective as of January 25, 2022.
   3) PSZJ’s compensation shall be subject to review by the Court pursuant to § 330(a).
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   IT IS SO ORDERED.
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    Date: May 18, 2022
